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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

FIRST JUDICIAL DISTRICT IN JUNEAU

JONATHAN CORSON

Plaintiff,
CASE NOs: 1JU-19- CI
v. ———

ae HEALTH AND WELLNESS,

Defendant,

 

 

COMPLAINT
Comes now Plaintiff Jonathan Corson, through undersigned counsel,

and complains and alleges as follows:

JURISDICTION
1. This is a civil assessment for a violation of federal and state laws preventing
wrongful termination.
2 Subject matter jurisdiction is proper pursuant to Alaska statutory and

common law, including AS 22.15.030 and AS 09.05.015.

3. Personal jurisdiction is proper because the Defendant was a resident of
Alaska at the time of the violation.

4. Venue is properly laid in the First Judicial District pursuant to Alaska

Stat. 22.15.030 and Alaska Civil Rule 3(c) because the claims arose in the First Judicial

District.

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PARTIES

5. Plaintiff Jonathan Corson is a resident of the State of Alaska.

6. Defendant JAMHI Health & Wellness, Inc. (“JAMHI”) is a corporation
located in the State of Alaska.

Ti Upon information and belief, defendant JAMHI is located at 3406 Glacier
Hwy. Juneau, AK 99801.

8. Defendant is a “person” as defined by Alaska Stat. 46.03.900(18).

GENERAL FACTUAL ALLEGATIONS

9. Mr. Corson’s employment with JAMHI Health and Wellness began on
Monday, September 10, 2018

10. | Mr. Corson relocated from Cincinnati, OH, to Juneau, AK, resigning from an
secure position with Hamilton County Developmental Disabilities Services to accept a
position as Assistant Director of Residential Services with JAMHI.

11. Mr. Corson incurred significant relocation costs in excess of $10,000 to
accept this position. As part of Mr. Corson’s contractual obligations, JAMHI offered partial
reimbursement for a two year commitment with the organization.

12. During his time with JAMHI, Mr. Corson oversaw and supervised the
workforce of approximately 20 employees and the coordination of services for
approximately 17 clients in residential assisted living services and approximately 20 clients

in supported living arrangements. Mr. Corson also designed a training curriculum and

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supervised an additional representative from the agency to act as a training specialist for all
residential caregivers.

13. Mr. Corson’s original job description did not accurately reflect these
obligations. For example, his original contractual obligations were for the oversight of only
four residential living specialists and two case managers, and to oversee their caseloads.

14. Mr. Corson made numerous attempts to renegotiate the terms of his
employment agreement with JAMHI, but he was not provided a revised job description to
account for an accurate reflection of his job duties.

15. | Mr. Corson maintained an outstanding reputation among subordinates, co-
workers, and clients during the time of his employment. Every verbal or written notice Mr.
Corson’s received related to his job performance was “exemplary.”

16. On Monday, February 4, 2019. JAMHI’s “Lemon Creek” facility sustained a
“catastrophic event.” Approximately 11 group home/assisted living clients were displaced
by a malfunctioning fire suppressant system. As a result, the homes were flooded and
clients were displaced from their living arrangements. During this crisis event and in the
days and weeks to follow, Mr. Corson aided clients, staff and convened with leadership to
identify temporary housing. The goal being to ensure that the health and safety needs of
clients were met, while at the same time sustaining a viable Medicaid funded assisted living
program.

17. As aconsequence of this event, Mr. Corson convened with HR,

representatives from quality assurance team, and leadership on multiple occasions in March

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2019 regarding the viability of the residential assisted living program, and whether the long
term care of client needs and rights of individuals served were adequately being met under
state/federal guidelines. Since these services are funded by federal Medicaid, any
fraudulent contracting practices related to how these services are provided and billed would
be covered by the federal False Claims Act.

18. Mr. Corson raised significant concerns about program policy and procedures
outlined in JAMHI’s treatment/service model and whether they were sufficiently being met.
Mr. Corson outlined these concerns to his immediate supervisor, supervising clinician, and
HR director on numerous occasions, stating that these decisions were based out of provider
convenience and not from a multi-factored assessment, or data driven discussion about the
current, individual specific needs of each client.

19. At this time, continuous staffing shortages began to occur, as well as a
significant rise in employee attrition. Mr. Corson consulted with his immediate supervisor
and HR on multiple occasions about how to resolve this issue. Each home required 24/7
sight and sound coverage of clients in the assisted living program. Without staffing to
support the needs of clients, Mr. Corson and his immediate supervisor were tasked with
stepping in to provide direct care. This resulted in an exponential increase in work hours,
that eventually compromised Mr. Corson’s mental and physical health.

20. Mr. Corson approached HR Director Kyla Allred on March 21, 2019 about
concerns with how these challenges were having a compounding effect on the mental and

physical health of JAMHI staff, and that it would not be possible for him to sustain an

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indefinite “on-call” status for the remainder of the week. Mr. Corson was advised by Ms.
Allred that he was required to fulfill this duty, despite his deteriorating health condition.
Despite these concerns, Mr. Corson reported to work and fulfilled his duties, as required.

21. On March 23, 2019, Mr. Corson completed a required on-call, 25 hour shift
without rest. Mr. Corson became seriously ill shortly thereafter and sought the guidance of
his doctor on March 26, 2019. The earliest Mr. Corson’s doctor was willing to release him
was on March 29, 2019.

22. Mr. Corson had scheduled with HR and immediate supervisor, to return to
work on April 1, 2019. Upon arriving to work, Mr. Corson provided return to work
documentation stating that “work hours were not to exceed 40 hour a week for next 30 days
and upon re-evaluation from doctor not to increase workload.” Upon providing this
documentation, Mr. Corson was notified that he was being terminated and that his services
were no longer needed. A letter was prepared by Mrs. Allred stating notice of termination
dated March 28, 2019, implying that the decision to terminate was given prior to
consultation with Mr. Corson’s doctor/return to work date.

FIRST CAUSE OF ACTION;
RETALIATORY DISCHARGE IN VIOLATION OF FALSE CLAIMS ACT
31 U.S.C §§ 3729-3733
23. Paragraphs 1 through 22 are incorporated herein by reference.

24. By exposing and making a good faith report of fraudulent contracting

practices, Mr. Corson engaged in activity protected by the False Claims Act.

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25. Mr. Corson was wrongfully terminated in retaliation for engaging in that
protected activity.

26. JAMHI’s wrongful termination violated the False Claims Act and caused Mr.
Corson to suffer damages in excess of $100,000, the precise amount to be proved at trial.

27. Mr. Corson is entitled to all relief afforded to him under the False Claims Act.

SECOND CAUSE OF ACTION:
WRONGFUL TERMINATION IN VIOLATION OF AS 18.80.220

28. Paragraphs 1 through 27 are incorporated herein by reference.

29.  JAMHI terminated Mr. Corson after he reported conduct that is prohibited by
Alaska Stat. 18.80.200—.280, and such retaliatory discharge violates Alaska Stat.
18.20.220(a)(4).

30. Mr. Corson is entitled to all relief afforded by Alaska law.

THIRD CAUSE OF ACTION:
WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

31. Paragraphs | through 30 are incorporated herein by reference.

32. | JAMAHI’s actions including retaliating against Mr. Corson for reporting

and/or opposing unlawful conduct, as well as the other things discussed above,
constitute the tort of wrongful termination in violation of the public policy of the State of
Alaska.

33. Asaresult of JAMHI’s wrongful termination in violation of public policy,
Mr. Corson suffered damages in excess of $100,000, the precise amount to be proved at

trial and he is entitled to all relief afforded by Alaska law.

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FOURTH CAUSE OF ACTION:
BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

34. Paragraphs 1 through 33 are incorporated herein by reference.

35. In Alaska, all employment contracts contain an implied covenant of good
faith and fair dealing.

36. | JAMHI had a policy that expressly required its employees to report.

37. JAMHI breached the covenant of good faith and fair dealing when it
terminated Mr. Corson without cause and in retaliation after he complied with the company
policy and reported his concerns.

38. | Asa result of JAMHI’s breach of the covenant of good faith and fair dealing,
Mr. Corson suffered damages, in excess of $100,000, the precise amount to be proven at
trial, and he is entitled to all relief afforded by Alaska law.

FIFTH CAUSE OF ACTION:
PUNITIVE DAMAGES

39. Paragraphs | through 38 are incorporated herein by reference.

40. JAMHI’s conduct in this matter was outrageous, including acts done with
malice or bad motives.

41. JAMHI’s conduct evidenced reckless indifference to the interest of another
person, as well as the wellbeing of their own patients.

42. In order to punish and deter such wrongful conduct, JAMHI should be

ordered to pay punitive damages in an amount to be proven at trial.

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RELIEF SOUGHT

WHEREFORE, Plaintiff asks this Court:

a. to adjudge and decree that Defendant has engaged in conduct alleged
herein and to enter a judgment in favor of the Plaintiff and against Defendant;

b. to award all statutorily authorized compensatory damages, as well as
punitive damages and incidental damages in an amount to be determined at trial.

¢. to award prejudgment interest, full reasonable attorneys’ fees, and the
costs of this action in accordance with Alaska Rule of Civil Procedure 82(b);

d. to grant such other and additional relief as may be appropriate.

DATED this 25th day of September, 2019,

LAW OFFICES OF CHRIS PELOSO

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By:
Chris Peloso, 1205052
Counsel for Jonathan Corson
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1] CERTIFICATE OF SERVICE
7 I hereby certify that on September 25, 2019, a true
and correct copy of the foregoing document was
3 served on:
4 David Branding,
Registered Agent
5 JAMHI Health & Wellness, Inc.
3406 Glacier Hwy.
6 Juneau, AK 99801
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CHRIS PELOSO
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